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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 ELETSON HOLDINGS, INC. and
 ELETSON CORP.,
                                                   Civ. No. 23-cv-07331 (LJL)
                  Petitioners/Cross-Respondents,

             v.

  LEVONA HOLDINGS, LTD.,

                  Respondent/Cross-Petitioner.


      LEVONA’S MEMORANDUM OF LAW IN OPPOSITION TO AMENDED AND
      SUPPLEMENTAL PETITION TO RECOGNIZE AND ENFORCE ARBITRAL
      AWARD AND IN SUPPORT OF MOTION TO DISMISS AND AMENDED AND
                SUPPLEMENTAL CROSS-PETITION TO VACATE




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                                             INTRODUCTION

             This is the rare case that cries out for the Court to exercise its authority under the Federal

Arbitration Act and the New York Convention to vacate and decline to confirm an arbitration

award. “Arbitration is strictly a matter of consent, and thus is a way to resolve those disputes—

but only those disputes—that the parties have agreed to submit to arbitration.’” Granite Rock Co.

v. Teamsters, 561 U.S. 287, 299 (2010) (second emphasis added) (internal quotation marks

omitted). The arbitral award at issue here ignored those limits several times over. It awarded

damages to entities that were neither parties to the arbitration proceedings nor parties to the

underlying arbitration agreement. It awarded damages against entities that were neither parties to

the proceedings nor parties to the agreement. It awarded damages for conduct not subject to the

arbitration agreement, and indeed subject to the exclusive jurisdiction of other courts and arbitral

tribunals. And it did all this in a transparent—all-but expressly acknowledged—effort to aid

Petitioners’ circumvention of, and interference with, a co-pending bankruptcy proceeding

involving Petitioner Eletson Holdings, Inc. See In re Eletson Holdings, Inc., No. 23-10322 (JPM)

(Bankr. S.D.N.Y.). Vacatur is thus warranted because the arbitrator repeatedly “exceeded [his]

powers” in entering the award. 9 U.S.C. § 10(a)(4); see, e.g., Granite Rock, 561 U.S. at 299;

Smarter Tools Inc. v. Chongqing SENCI Imp. & Exp. Trade Co., 57 F.4th 372, 382 (2d Cir. 2023)

(“[A]rbitrators exceed[] their powers by determining the rights of a corporation not party to the

arbitration.”); Gonzales v. Parks, 830 F.2d 1033, 1035 (9th Cir. 1987) (“Filings of bankruptcy

petitions are a matter of exclusive federal jurisdiction.”).

             The petition to confirm suffers from a more fundamental problem: Petitioners lack Article

III standing to seek recognition, confirmation, or enforcement of at least the substantial portions

of the arbitral award that are in favor of non-parties. Petitioners have no concrete interest in that

relief, and the Court should dismiss the Petition on that basis.


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             To be clear, Respondent strenuously disagrees with the arbitrator’s baseless findings of

misconduct, which were not only mistaken but also the product of one-sided evidentiary rulings

that hindered Respondent’s ability to defend itself. But the Court need not consider that unfair

playing field or those erroneous factual findings in order to grant Respondent the relief it seeks.

The arbitrator’s repeated disregard for the relevant contracts, the governing law, and the limits on

his powers provide a more than sufficient basis to deny confirmation and grant vacatur of this

ungrounded award.

                                            BACKGROUND

             A.     The Parties And Eletson Gas

             Petitioner/Cross-Respondent    Eletson   Holdings,   Inc.   (“Eletson   Holdings”)   and

Respondent/Cross-Petitioner Levona Holdings, Ltd. (“Levona”) are joint venturers in a liquified

petroleum gas shipping company called Eletson Gas LLC (“Eletson Gas” or the “Company”). See

ECF 41-1, Solomon Decl., Ex. 1, Final Award, at 6. Petitioner/Cross-Respondent Eletson Corp.,

which is fully owned by Eletson Holdings, provides management services for Eletson Gas’s ships.

Id. Eletson Holdings and Eletson Corp. are ultimately owned and controlled by three Greek

families (those of Vassilis Kertsikoff, Laskarina Karastamati, and Vasilis Hadjieleftheriadis) (the

“Greek families”). Id.

             Eletson Gas was formed in 2013 by Eletson Holdings and funds managed by Blackstone

Tactical Opportunities (“Blackstone”). Id. The common stock was held by Eletson Holdings

(~60% on a converted basis). The preferred stock was initially held by Blackstone (~40% on a

converted basis) and was sold to Levona in November 2021. Id. at 7-8.

             Eletson Gas’s governing document, which provides rules for the general management of

the company, is its Third Amended and Restated Limited Liability Company Agreement, dated

August 16, 2019 (“LLCA”). See Decl. of Isaac Nesser (“Nesser Decl.”), Ex. A. The LLCA is


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governed by Delaware law (to the extent not inconsistent with Marshall Islands law), LLCA

§ 12.13, and has a binding arbitration clause providing that “[a]ny dispute, claim or controversy

arising out of or relating to this Agreement or the breach, termination, enforcement, interpretation

or validity thereof (including the determination of the scope or applicability of this agreement to

arbitrate) shall be determined by arbitration in New York County in the State of New York or any

other mutually agreeable location, before a single arbitrator,” LLCA § 12.14. The parties to the

LLCA are Eletson Gas, Eletson Holdings, Eletson Corp., and Levona (which, as mentioned,

bought its stake from Blackstone). LLCA at 73-78; Nesser Decl., Ex. B (Joinder Agreement).

             B.     Levona’s Rescue Funding To Eletson Gas Via The BOL

             Long before Levona had any association with either company, both Eletson Holdings and

Eletson Gas had defaulted on hundreds of millions of dollars in debt. Eletson Holdings had

defaulted on over $300 million in corporate bonds as of January 2019, nearly two years before

Levona became a member of Eletson Gas. See Nesser Decl., Ex. E at 1-3. And Eletson Gas had

defaulted on $254 million in debt as of April 2020, a year-and-a-half before Levona became a

member of the company. See Nesser Decl., Ex. D at 1. Eletson Gas’s debt was secured by, inter

alia, preferred mortgages on five of its ships. Id. Thus, in April 2020, Eletson Gas’s lenders issued

notices of default and acceleration, demanded immediate payment of some $118 million then due,

commenced legal and/or enforcement proceedings in three jurisdictions (Texas, Singapore, and

the Netherlands), and procured the arrest of four of the mortgaged ships. Id. at 1-2.

             Unable to recoup its losses, in November 2021, Blackstone exited the joint venture by

selling its stake to Levona. See Final Award at 8. Eletson Gas remained distressed as of early

2022, however, and, absent a source of funding, it would have been necessary to sell several of its

ships to keep the company in business. In dire need, the Greek families turned to Levona.




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             On February 22, 2022, only three days before the scheduled auction of two of the

company’s ships, Eletson Gas, Eletson Holdings, Eletson Corp., EMC Gas (a wholly-owned

subsidiary of Eletson Gas), and Levona entered into a Binding Offer Letter (“BOL”) through which

Levona provided much-needed, immediate liquidity to rescue Eletson Gas. See Nesser Decl., Ex.

F, BOL § 4.1; id., Ex. D (informing auctioning petitioner of refinancing of Eletson Gas’s

obligations, ultimately leading to ships’ release). In relevant part, the BOL stated that Levona

would loan Eletson Gas up to $10 million1 and Eletson Gas would transfer to Levona the shares in

two Greek companies that held the ships Symi and Telendos. BOL at 1. In consideration of this

transfer, and subject to certain conditions, the BOL provided Eletson Gas a time-limited option to

purchase Levona’s stake in Eletson Gas (the “Purchase Option”). BOL § 2. The BOL states that,

in order to exercise the Purchase Option, Eletson Gas would need to provide (i) “written notice”

within 30 days of execution of the BOL, BOL §§ 2.1, 2.3, only after (ii) it had fully repaid the loan

or “adequate security and/or collateral” had been “provided for the Loan (the adequacy of such

security being at the sole discretion of Levona),” BOL § 2.2. Finally, for the Purchase Option to

be validly exercised, Eletson Gas had to transfer the “Purchase Option Consideration payable in

cash … to such account as Levona may nominate in writing.” BOL § 2.1.

             On March 11, 2022, Eletson Gas transferred the Symi and Telendos to Levona “in

consideration of … the purchase option” to Eletson Gas. BOL § 1; see Nesser Decl., Ex. I (Share

Transfer Agmt.); Final Award at 9. To Levona, this transfer was the consideration for granting


1
   This was further documented in a Loan Agreement on March 11, 2022, that, as amended on
April 5, 2022, increased the facility to $14 million. Eletson Gas eventually borrowed at least
$12.85 million. Although Eletson Gas was required to make regular interest payments, it has
defaulted on such payments. See Final Award at 35; Nesser Decl., Ex. G at 1. Levona is pursuing
claims against Eletson Gas for these defaults in an arbitration commenced in London in July 2023
under the terms of the Loan Agreement (which, similar to the BOL, is governed by English law
and provides for arbitration in London).


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Eletson Gas the Purchase Option. Indeed, a “unanimous written consent” adopted by the Board

of Eletson Gas on March 11, 2022, stated that “the sale of the [Symi and Telendos] to Levona” was

“in consideration of the grant of a purchase option to [Eletson Gas].” Nesser Decl., Ex. J at 1.

Petitioners, however, later asserted that the March 11 transfer exercised the Purchase Option—

even though (i) Eletson Gas had not provided written notice exercising the Purchase Option (as

the arbitrator correctly found), see Final Award at 43, 46, (ii) the loan was never repaid, see id. at

35, and (iii) it is undisputed that Levona never accepted the adequacy of any security, see id. at 40.

             The BOL contains its own choice-of-law provision and arbitration agreement, which

provides that “any disputes and claims arising out of or in connection with” the transfer of the

ships, the loan, or the Purchase Option “shall be governed by and construed in accordance with

English law and shall finally be resolved by arbitration in accordance with the rules of arbitration

of the London International Centre for Arbitration … by one arbitrator” in “London, United

Kingdom.” BOL § 10 (emphasis added).

             C.     The Arbitration

             Although disputes arising out of the BOL must be arbitrated in London pursuant to the

arbitration agreement in the BOL, on July 29, 2022, Petitioners filed an arbitration demand against

Levona in New York pursuant to the arbitration agreement in the LLCA. See Nesser Decl., Ex. C.

The arbitration demand asserted that, because Eletson Gas had purportedly exercised the Purchase

Option under the BOL, Levona had no interest in Eletson Gas and so Levona’s appointed directors

could not hold themselves out as legal representatives or agents of Eletson Gas. See Final Award

at 10 (“The majority of the claims and counterclaims asserted in this arbitration rest[] upon

[whether] … Eletson exercise[d] the purchase option pursuant to the Transaction Documents.”).

The only parties to the arbitration were Eletson Holdings and Eletson Corp. (as Claimants) and

Levona (as Respondent). No joinder of any other party was ever sought or granted.


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             Beginning on the first page of its response to the arbitration demand and continuing for

several paragraphs, Levona objected to the arbitrator’s jurisdiction, arguing that disputes relating

to the BOL and the Purchase Option—the supposed exercise of which was at the heart of the

parties’ dispute—could “only be resolved by an adjudication on the Binding Offer Letter … which

demand[s] arbitration in London and [is] governed by English Law.” Nesser Decl., Ex. K at 1.

Levona also asserted LLCA-based counterclaims seeking relief that was the inverse of that sought

by the Petitioners. Id. at 2. Levona then moved to strike any claims that purported to touch upon

the interpretation and application of the BOL, but the arbitrator denied that motion. Final Award

at 13-14. Specifically, the arbitrator determined that (i) the arbitration agreement in the LLCA

was so broad as to bestow upon the arbitrator jurisdiction over a distinct agreement such as the

BOL, and (ii) Levona had consented to resolve the BOL-related issues in the existing arbitration

by asserting counterclaims—even though the counterclaims expressly indicated that Levona

opposed arbitration of BOL-related issues. See Nesser Decl., Ex. H at 13.

             Early in the proceeding, the arbitrator entered an injunction (the “Status Quo Injunction”)

providing that “the parties hereto shall maintain the status quo and shall not, among other things:

(1) engage in the transfer or sale of any assets of Eletson Gas LLC … absent the joint written

consent of the parties, which shall be sent to the undersigned Arbitrator; or (2) notice or conduct

of [sic] any board meetings for the purposes of proposing or considering transfer or sale of any

assets of [Eletson Gas].” Final Award at 15. The arbitrator later extended this restriction to the

sale of the Symi and Telendos. Id. Several months of discovery followed.

             D.     The Eletson Holdings Bankruptcy And Related Arbitration Developments

             In March 2023, while discovery in the arbitration was ongoing, several of Eletson

Holdings’ creditors commenced an involuntary bankruptcy proceeding against Eletson Holdings,

which, as noted above, had been in default on hundreds of millions of dollars in corporate bonds


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since at least 2019. See Nesser Decl., Exs. L-P. One of the creditors was Pach Shemen, an entity

under common ownership with Levona.2 In light of Eletson Holding’s insolvency, any award in

favor of Eletson Holdings would be property of its bankruptcy estate, and its distribution to Eletson

Holdings’ creditors would be subject to the bankruptcy court’s exclusive jurisdiction. See 28

U.S.C. § 1334(e).

             The arbitration was then stayed “pending further order or notice from the Bankruptcy

Court.” Final Award at 17. On April 17, 2023, the bankruptcy court (Mastando, J.), with the

support of petitioning creditors, modified the automatic stay under the Bankruptcy Code, 11 U.S.C.

§ 362, “with respect to the Arbitration solely to the extent necessary and for the sole purpose of

permitting a trial, any related pre-trial proceedings (including any remaining discovery), any

related post-trial proceedings or briefing, and a final determination or award to be made by the

Arbitrator, including any appeals, with respect to the claims currently pending in the Arbitration.”

Nesser Decl., Ex. Q at 3 (emphasis added). The arbitration thus resumed. The bankruptcy court

also ordered that any arbitration award “be stayed pending further order of the Bankruptcy Court,”

which, “[f]or avoidance of doubt,” prohibited Eletson Holdings, Eletson Corp., and Levona from

transferring or otherwise disposing of any arbitration award or “any asset or property related

thereto.” Id. at 4. Given that order, any confirmed award here cannot be enforced without the

bankruptcy court’s approval.

             Notwithstanding the bankruptcy court’s order limiting the arbitration to “claims currently

pending in the Arbitration,” Petitioners immediately brought new bankruptcy-related claims in the



2
   Levona and Pach Shemen are owned by two Bermudan mutual funds, Nomis Bay Ltd. and BPY
Ltd. Contrary to the arbitrator’s findings, Murchinson Ltd. is not the owner of the Bermuda funds,
let alone of Levona and/or Pach Shemen. Murchinson, which is a Canadian firm not present in
New York, merely acts as the investment sub-advisor to the Bermuda funds.


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arbitration just three weeks before the arbitration hearing began. In a “supplemental notice” dated

April 25, 2023, Petitioners purported to add bankruptcy-specific claims against Levona premised

substantially on the conduct of non-party Pach Shemen,3 including that Levona—through Pach

Shemen—had purportedly violated the Status Quo Injunction by commencing Eletson Holdings’

involuntary bankruptcy proceeding in bad faith. See Nesser Decl., Ex. R at 1, 8. Eletson Holdings

has since converted the case to a voluntary Chapter 11 case. See In re Eletson Holdings, Inc., No.

23-10322 (JPM) (Bankr. S.D.N.Y.), ECF 201 (Sept. 25, 2023); see also Nesser Decl., Ex. MM

(September 13, 2023 letter to bankruptcy court).

             Then, on May 5, 2023, with the arbitration hearing set to begin on May 15, Petitioners even

more radically altered their claims. Petitioners asserted, for the first time and contrary to their

position throughout the arbitration, that they and the Eletson Holdings bankruptcy estate did not

own and had never owned the preferred shares in Eletson Gas—i.e., the disputed property at the

very heart of the arbitration, which they had supposedly acquired by exercising the Purchase

Option. According to Petitioners’ new theory, “[t]he preferred interests at issue in this arbitration,

from their issuance up until the execution of the BOL and even thereafter, were never owned or

controlled, directly or indirectly, by [Eletson] Holdings, Eletson Corporation, [Eletson Gas], or

any other entity directly or indirectly affiliated with any of these entities.” See Final Award at 18

(quoting Claimants’ Rule 20(b) Statement, May 5, 2023, ¶ 100).4 Rather, according to Petitioners’


3
  The supplemental notice also alleged that Levona had violated the Status Quo Injunction through
the actions of non-party Wilmington Savings Fund Society, which, acting in its capacity as
indenture trustee of the notes issued by Eletson Holdings and two other affiliated debtors, had
initiated a related action against Eletson Holdings. See Wilmington Savings Fund Society, FSB v.
Eletson Holdings, Inc., No. 23-cv-00261 (JLR) (S.D.N.Y.) (the “bondholder litigation”).
4
  Petitioners’ contradiction of their prior position was stark. See Nesser Decl., Ex. S (Aff. of V.
Kertsikoff, Oct. 25, 2022), at ¶¶ 9, 28(e) (“Prior to March 11, 2022, Eletson Holdings was a
common unit holder (sometimes for convenience referred to as shares) of the Company. As of



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convoluted new theory, the Greek families (not Eletson Gas) had secretly nominated three

previously-undisclosed Cypriot entities by the names of Fentalon, Apargo, and Desimusco (the

“Alleged Nominees”), and an unspecified Eletson entity allegedly assigned the preferred shares to

those Alleged Nominees in exchange for their “commit[ment] to pay €3 million” to that

unspecified entity “effect[ive] immediately upon Eletson’s exercise of the option.” Nesser Decl.,

Ex. FF, at 419; see Final Award at 18.

             Petitioners offered no documentary support for this new theory other than six pages of

largely handwritten notes in Greek, bearing no date or time stamps or other official or corporate

marking or seals, and containing several (never-explained) redactions. See Nesser Decl., Exs. W-

Z, AA. Nor did the Petitioners provide any evidence identifying the unnamed Eletson entity that

supposedly assigned the shares; any evidence of agreements purporting to effectuate the

assignment; or any evidence of any payment ever having been made, let alone compliance with

the BOL’s mandatory payment formula, see BOL § 4; Nesser Decl., Ex. GG (Claimants’ Opening

Presentation, May 15, 2023), at 153 (asserting “[t]he agreement is an oral agreement” ). Plainly,

in pressing this construct, Petitioners were straining to maintain the position that the Purchase

Option had been exercised while also keeping Levona’s shares out of the bankruptcy proceedings.



March 11, 2022, Eletson Holdings became the sole unit holder of the Company”; “Eletson held
itself out as the sole shareholder of the Company and sole beneficial owners of the Company’s
remaining 12 vessels.”); id., Ex. T (Claimants’ Mem. of Law in Support of Cross-App. for Prelim.
Inj., Oct. 25, 2022), at 9 (“At all times, Eletson held itself out as the sole shareholders of the
Company and sole beneficial owners of the Company’s remaining 12 Vessels”); id., Ex. U
(Claimants’ Mem. of Law in Opp., Nov. 8, 2022), at 6 (“Eletson held itself out as the sole
shareholder of the Company and sole beneficial owner of the Company’s remaining 12 vessels.”);
id., Ex. V (Claimants’ Reply Brief in Support of Cross-App., Nov. 18, 2022), at 11 (“The
undisputed record establishes that Eletson continued to manage the Company without Levona on
the scene and even held itself out to potential financiers as the sole shareholder of the Company”);
see also Complaint ¶ 33, Dkt. 1, Eletson Holdings Inc. v. Murchinson Ltd., No. 23-01132 (JPM)
(Bankr. S.D.N.Y.) (Eletson Holdings contending as recently as April 20, 2023, that “Eletson Gas,
LLC (‘Eletson Gas’)” is “a wholly-owned subsidiary of Eletson Holdings.”).


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             On May 10, 2023, Levona moved to strike Petitioners’ last-minute assertions regarding the

purported transfer of its shares to the Alleged Nominees. Nesser Decl., Ex. KK, at 1. After

deferring ruling on the motion until after the hearing, the arbitrator ultimately “acknowledge[d]

that the lack of earlier notice by [Petitioners] to Levona of the contingent transfer of any preferred

shares to the [Alleged] Nominees initially raised concern.” Final Award at 31. Nonetheless, the

arbitrator denied Levona’s motion. In doing so, the arbitrator accepted Petitioners’ argument that

they had announced their change of position specifically to keep the disputed property outside of

Eletson Holdings’ bankruptcy—i.e., if Eletson Gas had indeed exercised the Purchase Option, that

property would properly form part of Eletson Holdings’ bankruptcy estate. Id. at 32. And while

the arbitrator appeared to fault Levona for not seeking discovery into Petitioners’ eleventh-hour

allegations (id.), he disregarded that he had deprived Levona of the opportunity to do so by

deferring ruling on the motion to strike until the award.5

             E.     The Arbitration Awards

             The arbitrator rendered an interim award on July 29, 2023, corrected it on August 15, 2023

(see ECF 16) (the “Corrected Interim Award”), and rendered a final award on September 29, 2023

(the “Final Award” and, together with the Corrected Interim Award, the “Awards”). The Final

Award republished the Corrected Interim Award and additionally addressed, ruled upon, and

quantified the amounts of fees, costs, and interest. See Final Award at 5-6 (explaining same); see



5
   This is just one example of multiple one-sided procedural rulings by the arbitrator. Others
abound. For instance, Levona’s counsel learned, after the hearing concluded, that Eletson
Holdings had produced an email in the bankruptcy case that was highly relevant in showing that
Petitioners did not exercise the Purchase Option. On that basis, Levona sought to compel
production so that the arbitrator would have an opportunity to consider this improperly withheld
evidence. The arbitrator refused to do so on the spurious basis that the protective order in the
bankruptcy proceeding barred Petitioners from producing their own documents. See Nesser Decl.,
Ex. BB, at 2; see also id., Ex. CC (Letter, July 26, 2023).


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also Nesser Decl., Ex. NN (redline showing changes from Corrected Interim Award to Final

Award).

             Regarding the key issue of whether Eletson Gas exercised the Purchase Option, the

arbitrator concluded that “it is more likely than not that the conditions for the buyout were met …

pursuant to the BOL. Final Award at 47 (emphasis added). As such, he determined that “Levona’s

interests should have been transferred to Eletson Gas, or its nominee.” Id. And because the

interests were not transferred, Levona was liable, inter alia, for its supposed unjust enrichment by

having kept ownership of the ships Symi and Telendos and transferring the shares. Id. at 64.

             As to the written notice required to exercise the Purchase Option pursuant to the BOL, the

arbitrator “agree[d] with Levona that there does not seem to be a separate formal written notice

provided to Levona by Eletson exercising the option.” Id. at 43. The arbitrator, however, excused

Eletson Gas’s non-compliance with the contract’s requirement of written notice on the basis—

found nowhere in governing English law or even in Delaware law applicable to the LLCA, and

not otherwise justified by the arbitrator—that “[a]t best, the absence of a written notice” was a

“formalit[y] that the parties failed to observe.” Id. at 46.6 The arbitrator also failed to square

Petitioners’ new theory with (i) the option granted to Eletson Gas alone—not the Greek families—

to nominate a purchaser of Levona’s shares, BOL § 2.1, (ii) the facts that the loan had not been

paid and that Levona had not received adequate security or collateral as required by the BOL, BOL




6
  The arbitrator also disregarded contemporaneous evidence establishing that the Purchase Option
had never been exercised. See Nesser Decl., Exs. DD, EE (Eletson Gas’s principals sharing a
buyout proposal with Levona on July 13, 2022, thereby showing that Eletson Gas had not exercised
the Purchase Option; there would have been no need for such proposal had the option been
exercised). Levona has commenced an arbitration under the BOL to address these very issues
before the appropriate, and contractually agreed, forum.


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§ 2.2, and (iii) the Alleged Nominees’ failure to the pay the Purchase Option Consideration in cash

into an account designated by Levona, as required by the BOL, see BOL § 2.1.7

             The arbitrator also concluded that Levona, through Pach Shemen—a non-signatory to the

LLCA and non-party to the arbitration—violated the Status Quo Injunction and caused Petitioners

to incur expenses in the bankruptcy case and in the bondholder litigation. Final Award at 62-63.

The arbitrator pointed out that Pach Shemen had “instructed the bond trustee … to sue Holdings

to collect the debt due on [Eletson Holdings’] bonds,” and, together with “other creditors of

Holdings, filed involuntary bankruptcy petitions against Holdings in the Southern District of New

York.” Id. at 61. The arbitrator concluded that those actions violated the Status Quo Injunction

because Pach Shemen’s goal had been to obtain the “assets of [Eletson] Gas … or assets in dispute

in this arbitration.” Id. at 62. For the arbitrator, “the Levona-related entities were looking to either

strip this arbitration of its jurisdiction or hedge against a potential loss in this arbitration.” Id.

Accordingly, the arbitrator decided that he had jurisdiction over the conduct of Pach Shemen.

             Based on these dubious findings, the arbitrator awarded approximately $87 million in

damages (half of which was punitive damages). The arbitrator carefully avoided awarding any

damages to Eletson Holdings—the entity that had sought those damages when it commenced the

arbitration and that is now in bankruptcy—just a Petitioners’ counsel had requested.8 Rather, the

arbitrator awarded:




7
   The arbitrator also did not consider whether a transfer to the Alleged Nominees was possible in
light of the LLCA’s restrictions on the transfer of shares. See LLCA § 10.2(b), (e).
8
   See Nesser Decl., Ex. GG, at 6-7 (Petitioners’ counsel asking the arbitrator to “structure relief”
so as to avoid proceeds becoming subject to the bankruptcy).


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             1.   $21,777,378.50 to non-party Eletson Gas as compensatory damages because Levona
                  had purportedly caused the improper arrests of certain of Eletson Gas’s ships prior
                  to acquiring its stake from Blackstone;9
             2.   $19,677,743.71 to the non-party Alleged Nominees for Levona’s purported unjust
                  enrichment after acquiring the Symi and Telendos;
             3.   $2,000,000 to non-party Eletson Gas as compensatory damages “arising out of
                  Levona’s other breaches of contract”; and
             4.   $43,455,122.21 to non-party Eletson Gas and the non-party Alleged Nominees as
                  punitive damages for alleged misconduct by “Murchinson, on its own, and through
                  Levona and Pach Shemen.”
Final Award at 100-01; see id. at 69. The arbitrator also determined that non-party Pach Shemen

and non-party Murchinson were jointly and severally liable with Levona for all damages because

they were purportedly “alter egos” of one another, id. at 100-01—thereby imposing liability on

non-parties that not even Petitioners had requested. See Nesser Decl, Ex. II (asserting claims

against only Levona).

             The arbitrator additionally awarded over $12.5 million in attorney’s fees and costs, not

only in connection with the arbitration at issue here ($9,590,222.99), but also in connection with

the above-noted bankruptcy case and bondholder litigation ($3,007,266.20). The award states that

those amounts are owed to Eletson Holdings and Eletson Corp., “to be paid to the entity or

individuals who paid those costs and fees.” Final Award at 91-92.10 The arbitrator also awarded

“[a]dditional pre-judgment interest on the compensatory damages as awarded in the Corrected

Interim Award through August 31, 2023,” in the amount of $1,319,163.14 to Eletson Gas (not a

party to the arbitration) and $1,176,918.74 to the Preferred Nominees (also not parties to the



9
  The arbitrator never explained how arrests pursuant to court orders could be improper, let alone
how he could properly exercise jurisdiction over conduct that allegedly occurred several months
before Levona acceded to the LLCA.
10
    The arbitrator also awarded Petitioners $22,366.10 representing additional JAMS costs incurred
in this arbitration since the filing of Eletson’s Opening Affirmation, and which Eletson had paid
both its share and Levona’s share.


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arbitration).       Id. And the arbitrator awarded additional prejudgment interest on compensatory

damages and the fees, costs, and expenses from the date of the Final Award to the date of payment

or confirmation. Id. at 102. As with the rest of the award, non-party Pach Shemen and non-party

Murchinson were deemed jointly and severally liable for these fees and interest as alleged “alter

egos” of Levona. Final Award 100-01.11

             Petitioners have petitioned this Court to confirm the Final Award against Levona. Levona

now moves to dismiss the petition and counter-petitions to vacate the Corrected Interim Award

and Final Award.

                                               ARGUMENT

I.           THE PETITION SHOULD BE DISMISSED IN AT LEAST SUBSTANTIAL PART
             BECAUSE PETITIONERS LACK STANDING

             Article III of the Constitution provides that the “judicial power shall extend to all Cases”

and “Controversies.” U.S. Const. art. III, § 2. To satisfy this case-or-controversy requirement, a

party seeking to invoke a federal court’s jurisdiction must have standing to sue. That means the

party “must show (i) that he suffered an injury in fact that is concrete, particularized, and actual or


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    The arbitrator also made serious findings against individuals who had no opportunity to defend
themselves. For example, the arbitrator found that Eletson Gas’s CFO (also an Eletson Corp.
employee) was induced to disregard his fiduciary duties and harm Eletson Gas. Final Award at
24. That individual was not produced as a witness. And the arbitrator did not have a complete
account of the relevant facts, including that it was Blackstone that had asked the individual to share
information with Levona’s principals. The arbitrator also failed to appreciate that the individual
was, for years, knowingly put in an inherently conflicted position between his duties to Eletson
Gas (which owned the ships) and Eletson Corp. (which managed the ships and thus had conflicting
interests because its management fees would shrink if the ships were sold). These commercial
realities, ignored by the arbitrator, had informed the operations of Eletson Gas for years.
No different was the arbitrator’s determination that punitive damages were warranted on the
unsubstantiated basis that Levona’s in-house counsel had tampered with evidence. Final Award
at 44. This was not true, as Levona demonstrated by reference to the document allegedly tampered
with and its metadata. Nesser Decl., Ex. LL (Levona’s Post-Hearing Br., June 9, 2023), at 34-35.
The arbitrator ignored this evidence and regrettably engaged in an injudicious rush to tar a young
lawyer.


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imminent; (ii) that the injury was likely caused by the defendant; and (iii) that the injury would

likely be redressed by judicial relief.” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021).

Further, “a plaintiff must demonstrate standing for each claim he seeks to press”; “standing is not

dispensed in gross.” DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352-53 (2006) (quoting Lewis

v. Casey, 518 U.S. 343, 358 n.6 (1996)).

             Article III’s case-or-controversy requirement applies to actions governed by the Federal

Arbitration Act (“FAA”). “The Supreme Court recently affirmed that the FAA’s provisions

authorizing ‘applications to confirm, vacate, or modify arbitral awards … do not themselves

support federal jurisdiction.’” Stafford v. IBM Corp., 78 F.4th 62, 68 (2d Cir. 2023) (quoting

Badgerow v. Walters, 142 S. Ct. 1310, 1316 (2022)). Instead, an entity seeking to confirm an

award must have a “concrete” stake in the outcome of the confirmation proceeding. Id. As the

Second Circuit has held, an entity lacks such a stake where it has “no interest in the award[],”

Compagnie Noga D’Importation et d’Exportation S.A. v. Russian Fed’n, 350 F. App’x 476, 477

(2d Cir. 2009), or there is not “any issue over payment” to it, Stafford, 78 F.4th at 68.

             For example, in Compagnie Noga, Judge Pauley ruled that an entity’s “assignments of its

arbitration proceeds to certain of its creditors deprived it of standing to seek confirmation of the

arbitral award.” 2008 WL 3833257, *1, *7 (S.D.N.Y. Aug. 15, 2008). In affirming that decision,

the Second Circuit explained that in such circumstances the petitioning entity “had no interest in

the awards and, therefore, lacked standing to pursue its” petition to confirm them. 350 F. App’x

at 477. Similarly, in Stafford, the Second Circuit recently held that, following satisfaction of an

arbitral award, a petition to confirm that award was “moot because [the petitioner] now lacks any

‘concrete interest’ in confirmation.” 78 F.4th at 68 (quoting Knox v. SEIU, 567 U.S. 298, 307

(2012)). In both cases, the petitioner had no stake in the award that it sought to confirm.




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             Here, Petitioners lack standing to confirm the portions of the Awards that are in favor of

third parties for a similar reason. They, like the petitioner in Compagnie Noga, have “no interest

in” the substantial portions of the Awards that resolve non-parties and non-signatories’ rights and

direct Levona to pay damages to non-parties Eletson Gas and the Alleged Nominees—not to

Petitioners. Compagnie Noga, 350 F. App’x at 477. Nor do those portions of the Awards present

any “issue over payment” to Petitioners. Stafford, 78 F.4th at 68. Accordingly, if the Court were

to hear and grant the petition to confirm, Petitioners would reap no benefit as to the overwhelming

bulk of the Awards. That is the paradigmatic example of a party lacking a concrete interest in the

outcome of an action.

             At most, Petitioners may have an interest in the fees from the arbitration, bankruptcy case,

and bondholder litigation that the Awards granted them. But even as to that portion of the Awards,

which should be vacated for the reasons discussed below, Petitioners do not have a direct interest

because the fees were apparently paid by others. See Final Award at 68 (directing that fees “be

paid to” any “entity or individuals who paid those costs and fees” on Petitioners’ behalf); Nesser

Decl., Ex. HH (Aff. of V. Kertsikoff), at 7 (“[O]ne or another of the Eletson-affiliated entities has

made very substantial payments, equalling $2 million, to Reed Smith in respect of fees incurred.

… Any amounts still owed in connection with this arbitration have been included in a Promissory

Note of sum certain made by Fentalon, Apargo, and Desimusco [i.e. the Alleged Nominees].”). In

any event, a cognizable interest in fees would not give Petitioners “standing … in gross” to seek

to confirm any other part of the Awards. DaimlerChrysler, 547 U.S. at 353.

II.          THE PETITION SHOULD BE DENIED AND THE AWARDS VACATED
             BECAUSE THE ARBITRATOR EXCEEDED HIS POWERS

             The FAA provides that an arbitral award falling under the New York Convention shall be

confirmed “unless [a court] finds one of the grounds for refusal or deferral of recognition or



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enforcement of the award specified in the [] Convention.” 9 U.S.C. § 207. Such grounds include

where an “award deals with a difference not contemplated by or not falling within the terms of the

submission to arbitration, … contains decisions on matters beyond the scope of the submission to

arbitration, … or has been set aside or suspended by a competent authority of the country in which,

or under the law of which, that award was made.” United Nations Convention on the Recognition

and Enforcement of Foreign Arbitral Awards, art. V(1)(c), (e); see 9 U.S.C. § 9 (court may not

confirm an arbitral award if it “is vacated”). The FAA further provides that a court may vacate an

arbitral award where arbitrators “exceeded their powers.” 9 U.S.C. § 10(a)(4). The Court’s inquiry

under § 10(a)(4) “focuses on whether the arbitrators had the power, based on the parties’

submissions or the arbitration agreement, to reach a certain issue.” Westerbeke Corp. v. Daihatsu

Motor Co., 304 F.3d 200, 220 (2d Cir. 2002) (citation omitted).

             The arbitrator here exceeded his powers by (1) adjudicating the rights and duties of non-

parties to the arbitration proceedings and non-signatories to the LLCA; (2) adjudicating claims for

conduct that falls outside the scope of the arbitration agreement in the LLCA and that is expressly

subject to a London-seated arbitral tribunal; (3) adjudicating claims barred by the bankruptcy;

(4) awarding fees incurred in the bankruptcy case and bondholder litigation, in a manner that not

only violates the bankruptcy court’s exclusive jurisdiction but also is outside the scope of the

LLCA’s arbitration clause; and (5) awarding fees and costs to non-prevailing parties despite the

LLCA’s contrary limit. For those clear jurisdictional excesses, the Court should vacate the

Awards.

             A.     The Arbitrator Improperly Adjudicated Rights And Duties Of Non-Parties To
                    The Arbitration And Non-Signatories To The Arbitration Agreement

             “[A]rbitrators exceed[] their powers by determining the rights of a corporation not party to

the arbitration.” Smarter Tools, 57 F.4th at 382; see Nationwide Mut. Ins. Co. v. Home Ins. Co.,



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330 F.3d 843, 849 (6th Cir. 2003) (“[W]e AFFIRM the district court’s order of vacation based on

the arbitration panel’s lack of jurisdiction to order payment to a third party ….”).

             That limit on arbitrators’ powers means that they can determine the rights and duties of

only those who are “part[ies] to the arbitration contract.” Am. Renaissance Lines, Inc. v. Saxis S.

S. Co., 502 F.2d 674, 677 (2d Cir. 1974). Otherwise, arbitrators would thwart the “contractual

nature of arbitration that parties may specify with whom they choose to arbitrate their disputes.”

Stolt-Nielsen S.A. v. AnimalFeeds Int’l Corp., 559 U.S. 662, 683-84 (2010); see Nationwide, 330

F.3d at 847 (“Home and Nationwide agree that CIGNA and its affiliate, AISUK, are non-parties

to the contract and to the arbitration. Thus, the arbitration award exceeds the panel’s authority”

by awarding them damages.).

             That limit also means arbitrators can determine the rights and obligations of only “parties

in the arbitration proceedings.” NCR Corp. v. Sac–Co., Inc., 43 F.3d 1080 (6th Cir. 1995) (relying

on Orion Shipping & Trading Co. v. E. States Petroleum Corp., 312 F.2d 299, 301 (2d Cir. 1963)).

For example, in GE Transportation (Shenyang) Co. v. A-Power Energy Generation Systems, Ltd.,

2016 WL 3525358 (S.D.N.Y. June 22, 2016), this Court declined to enforce an arbitration award

against alleged alter egos of a party to the arbitration proceedings because “the alleged alter egos

[we]re not parties to th[e] action” and thus “the Court [could ]not enter judgment against them.”

Id. at *5 (citing Taylor v. Sturgell, 553 U.S. 880, 884 (2008) (“It is a principle of general

application in Anglo-American jurisprudence that one is not bound by a judgment in personam in

a litigation in which he is not designated as a party or to which he has not been made a party ….”)).

             Because this scenario arises so infrequently, courts in this circuit have not had much

occasion to opine on it. But the Sixth Circuit has held, much like this Court in GE Transportation,

that an arbitrator could not award damages to employees who had signed a collective bargaining




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agreement with an arbitration clause, but who had not filed grievances under that agreement,

because “arbitrators exceed their powers when they determine rights and obligations of individuals

who are not parties to the arbitration proceedings.” Armco Emps. Indep. Fed’n, Inc. v. AK Steel

Corp., 149 F. App’x 347, 351 (6th Cir. 2005); accord Nationwide, 330 F.3d at 849 (affirming order

vacating arbitral award based on the arbitration panel’s lack of jurisdiction to require payment to

third party). That conclusion is consistent with the law of the Second Circuit, under which an

“arbitrator exceed[s] his powers” when he “determin[es] the obligations of a corporation which

was clearly not a party to the arbitration proceeding.” Orion Shipping, 312 F.2d at 300 (affirming

order vacating arbitration award against entity that was not a party to arbitration).

             Here, the arbitrator improperly determined the rights and obligations of non-parties and

non-signatories by (1) awarding damages to the Alleged Nominees—non-parties and non-

signatories; (2) awarding damages to Eletson Gas—a non-party; and (3) awarding damages against

Pach Shemen and Murchinson—non-parties and non-signatories.

             First, the arbitrator improperly awarded the Alleged Nominees $19,677,743.71 for

Levona’s purported unjust enrichment and $19,677,743.71 in punitive damages. Final Award at

100-01. The Alleged Nominees were neither signatories to the LLCA nor parties to the arbitration

proceedings, so the arbitrator exceeded his power in “order[ing] payment to” them “as third

parties.” Nationwide, 330 F.3d at 849; see, e.g., Smarter Tools, 57 F.4th at 382. The issue is

particularly significant because the Awards were made to non-parties in an effort to allow

Petitioners to circumvent the pending bankruptcy proceeding involving Eletson Holdings, to the

detriment of its creditors.

             Second, the arbitrator improperly awarded Eletson Gas $21,777,378.50 as compensatory

damages because Levona allegedly caused the arrests of Eletson Gas ships, $2,000,000 as




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compensatory damages “related to or arising out of Levona’s other breaches of other contracts,”

and $23,777,378.50 in punitive damages. Final Award at 65, 100-01. The problem with those

awards is that Eletson Gas, although a party to the LLCA, was not a party to the arbitration. NCR

Corp., 43 F.3d at 1080 (arbitrator “exceeded his authority by … determining the rights of

individuals who were not parties in the arbitration proceedings”). Indeed, this case is on all fours

with Armco, where the Sixth Circuit held that an arbitrator could not award damages to employees

who, though signatories to an arbitration agreement, had not filed grievances under that agreement

and had therefore not become “parties to the arbitration proceedings.” 149 F. App’x at 351. Just

as in GE Transportation, this Court should vacate the award because Eletson Gas was not a

“part[y] to th[e] action.” 2016 WL 3525358, at *5.12

             In the interim awards, the arbitrator did not explain why he had authority to award damages

to a non-party like Eletson Gas. It was only in the Final Award—which the arbitrator issued a

week after Levona had filed its initial opening brief in this Court urging vacatur of the Corrected

Interim Award (see ECF 30)—that the arbitrator sought to justify that portion of the award. His

first purported justification, unsupported by any cited authority, was that “Eletson Gas could not



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    Levona, moreover, never consented to adjudication of non-parties’ rights and obligations, let
alone to them receiving an award of damages. In the operative statement of claims, Petitioners
requested that they be awarded “[c]ompensatory damages for all the harm caused to the Company
and/or [Petitioners] by reason of Levona’s misconduct.” Nesser Decl., Ex. II, at 22. Petitioners
also sought an award of “[p]unitive damages and other exemplary damages for, among other
things, the manner in which Levona has mistreated [Petitioners], disregarded its obligations to
[Petitioners] and to the Company, and breached contract and committed associated torts against
[Petitioners], with unlawful conduct directed to the public at large.” Id. at 23 (emphasis added).
Neither request sought an award of damages to anyone other than Petitioners. It was only in their
post-hearing Proposed Order that Petitioners sought a damages award directly to a non-party (see
Nesser Decl., Ex. JJ, at 6)—at which point Levona had no chance to respond. And when the
Alleged Nominees surfaced at the eleventh hour before the hearing, Levona moved to strike any
allegations regarding them—making clear that adjudication of issues involving them was outside
the arbitrator’s authority. Id., Ex. KK, at 1.


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bring this claim on its own given that Levona contended it continued to own the preferred interests

of, and therefore had a controlling interest in, Eletson Gas.” Final Award at 89. That is simply

wrong. Because Petitioners maintained that they own Eletson Gas and that Levona had no interest

in Eletson Gas, they had every ability to cause Eletson Gas to sue Levona; Levona’s contention

that it owns Eletson Gas would merely have been a defense. See, e.g., CSWS, LLC v. Rios, 2021

WL 7161224, *1 (N.D. Ill. Oct. 20, 2021) (“The notice of removal states that removing defendant

owns 55% of plaintiff CSWS, LLC’s certificates of ownership. CSWS, LLC, filed the state court

suit to force Seif LLC to transfer the certificates of ownership based on an operating agreement,

the applicability of which is disputed.”).

             In another effort to justify his award to Eletson Gas, the arbitrator erroneously stated in the

Final Award that “[i]t has … been clear throughout these proceedings that Eletson would turn over

any damages to Eletson Gas, depending upon my ultimate determinations in this arbitration.” Final

Award at 89. In support, the arbitrator cited paragraph 64(p) of Claimants’ Third Amended

Statement of Claims, which asserts that “[i]nsofar as any of the claims asserted herein are

determined by the Arbitrator to be derivative in nature, then Claimants bring such claims by and

on behalf of the Company and will account to the Company for all damages or other relief awarded

against Levona in respect of any such derivative claim.” Nesser Decl., Ex. II, at 23. But that

statement, and indeed the arbitrator’s own statement in the Final Award, shows only that

Petitioners might receive an award and then give it to Eletson Gas; it does not show that Eletson

Gas might receive an award directly. Indeed, in their post-hearing brief, Petitioners stated that

they would turn over certain damages to Eletson Gas, not that Eletson Gas should get an award ab

initio. Nesser Decl., Ex. LL, at 23. And this distinction is important not only as a matter of

standing and procedure but also because Eletson Holdings is a debtor in a bankruptcy case, so its




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creditors would have a claim to any damages that go to it rather than to Eletson Gas. See infra,

Part II.C.

             The arbitrator also erroneously stated in the Final Award that “Levona never objected to

Eletson having standing to enforce the terms of the BOL, even though, if successful, relief would

be awarded—as expressly set forth in the BOL—to ‘Eletson Gas or its nominee.’” Final Award

at 89. The BOL says no such thing. Rather, Section 2.1 provides that “in consideration of the

Transfer occurring … Levona hereby grants to Eletson Gas the option, exercisable by written

notice to Levona by both of them (an “Option Notice”), for either Eletson Gas or its nominee to

purchase all of the membership interests held by Levona in Eletson Gas.” BOL § 2.1 (emphasis

added). That clause in no way suggests that if Petitioners—which do not include Eletson Gas or

its nominees—succeeded in arbitration, then the arbitrator would award damages directly to

Eletson Gas and the Alleged Nominees.

             Finally, the arbitrator improperly ordered non-parties and non-signatories Pach Shemen

and Murchinson to pay nearly $90 million by holding them jointly and severally liable with

Levona. Because neither entity was a party to the arbitration proceedings or the LLCA, the

arbitrator “exceed[ed his] powers by determining the rights of a corporation not party to the

arbitration,” Smarter Tools, 57 F.4th at 382; see Orion, 312 F.2d at 300 (same), notwithstanding

his finding that Pach Shemen and Murchinson were alter egos of Levona (Final Award at 97). The

prohibition on arbitrators determining the rights and obligations of non-parties applies no matter

how closely a non-party and party might relate. That is because the issue of whether a claimant

can compel an entity “to arbitrate is an issue to be decided in the courts”—not by an arbitrator.

Am. Safety Equip. Corp. v. J. P. Maguire & Co., 391 F.2d 821, 829 (2d Cir. 1968). And the Second

Circuit has firmly “held that an arbitration award could not be enforced under an alter-ego theory




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against the [non-signatory] parent corporation of one of the parties” because even “a confirmation

action [is] not the proper time to attempt to ‘pierce the corporate veil,’ due to the potentially

complex fact-finding this inquiry would involve.” Productos Mercantiles E Industriales, S.A. v.

Faberge USA, Inc., 23 F.3d 41, 47 (2d Cir. 1994) (quoting Orion, 312 F.2d at 301); cf. Am.

Renaissance Lines, 502 F.2d at 677-78. (“[A] corporation … is entitled to a presumption of

separateness from a sister corporation … even if both are owned and controlled by the same

individuals.”).

             In sum, because arbitration is contractual and based on the parties’ consent, the arbitrator

here repeatedly “exceeded his powers in determining the obligations” of companies who were not

“part[ies] to the arbitration proceeding” or the relevant contract. Orion, 312 F.2d at 300.13

             B.     The Arbitrator Improperly Adjudicated Claims Subject To A Different
                    Arbitration Agreement

             Arbitrators also exceed their powers where they award damages “for events not governed

by the arbitration agreement.” Smarter Tools, 57 F.4th at 382 (citing In re Arb. Between Melun

Indus., Inc. & Strange, 898 F. Supp. 990, 994-95 (S.D.N.Y. 1990)); see Granite Rock, 561 U.S. at

299; First Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 944-45 (1995) (“[A] party can be forced

to arbitrate only those issues it specifically has agreed to submit to arbitration.”).

             Here, the arbitrator awarded unjust enrichment damages because it found that Levona

breached the BOL—not the LLCA—by failing to transfer its interest in Eletson Gas after Eletson

Gas purportedly exercised the Purchase Option. Final Award at 46. Beyond the egregious legal

errors underlying the arbitrator’s analysis that independently warrant vacatur (see infra, Part III),

there is an even more fundamental problem with this unjust enrichment award: it stemmed from


13
   The arbitrator’s award of prejudgment interest to and against non-parties is improper for the
same reasons discussed in text. See Final Award at 93-94, 100-01.


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a supposed breach of the BOL, not the LLCA, and thus was “for events not governed by the

arbitration agreement.” Smarter Tools, 57 F.4th at 382.

             The arbitrator did not even try to obscure that the Awards rested on the interpretation and

enforcement of the BOL. Under the heading, “Eletson Exercised the Option Pursuant to the Terms

of the BOL,” the arbitrator quoted several provisions of the BOL, states that he is “enforc[ing]”

the BOL, Final Award at 33-34, and spent several pages addressing whether various provisions of

the BOL were complied with, before finding that Eletson Gas exercised the BOL Purchase Option,

id. at 35-47. The arbitrator then concluded that because “the conditions for the buyout were met

… pursuant to the BOL, Levona’s interests should have been transferred to Eletson Gas, or its

nominee.” Id. at 47 (emphasis added).14 And because they were not, the arbitrator ruled that

Levona was liable for its supposed unjust enrichment. Id. at 64.

             The problem with all of this is that the arbitrator had the authority to decide only those

issues “arising out of or relating to” the LLCA. LLCA § 12.14. Levona never “consent[ed]” for

the arbitrator “to resolve those disputes” arising from the BOL. Granite Rock, 561 U.S. at 299.

To the contrary, the BOL—which was entered into after Levona assented to the LLCA—has its

own separate arbitration agreement providing that “any disputes and claims arising out of or in

connection with” the Purchase Option “shall be governed by and construed in accordance with

English law and shall finally be resolved by arbitration” in “London.” BOL § 10 (emphasis added).

Accordingly, the dispute about whether Eletson Gas exercised the Purchase Option had to be

arbitrated in London, not in the arbitration below. Levona has recently commenced an arbitration



14
    In this entire 15-page discussion, the Awards mention just one provision of the LLCA, noting
that had Levona acquired the Symi and Telendos without transferring its shares in Eletson Gas it
may have run afoul of LLCA Section 6.2. See Final Award at 36. But that point in no way makes
Levona’s alleged failure to transfer its interest a violation of the LLCA.


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in London as provided by the BOL to address these very issues. The arbitrator thus exceeded his

authority by deciding issues that the LLCA did not govern.

             The arbitrator determined that Levona consented to pay damages based on violations of the

BOL by seeking “relief for its counterclaims” that he could award only if he were to “interpret,

enforce, and provide relief for pursuant to the [BOL].” Final Award at 14. But that determination

improperly disregards Levona’s express challenge to arbitrator’s jurisdiction over the BOL. See

Nesser Decl., Ex. K at 2 (“Levona does not waive its right to challenge jurisdiction and will do so

as necessary in this arbitration”). Indeed, the lead argument in Levona’s initial response to

Petitioners’ arbitration demand was that the BOL was “the crux of this entire matter,” and thus the

matter had to be resolved in an arbitration in London, not New York. Id. Levona followed that

objection by explicitly moving to strike arguments related to the BOL. Nesser Decl., Ex. KK, at

1. Levona thus repeatedly preserved its jurisdictional objection, and cannot be held to have

consented to arbitrate in New York whether the Purchase Option was exercised under the BOL.

See, e.g., Opals on Ice Lingerie, Designs by Bernadette, Inc. v. Bodylines Inc., 320 F.3d 362, 368

(2d Cir. 2003) (party did not impliedly consent to proceed by arbitration where it “objected

repeatedly to arbitration”).15

             C.     The Arbitrator Improperly Adjudicated Claims Barred By The Bankruptcy
                    Stay

             As noted above, the arbitrator stayed the arbitration pending further order or notice from

the bankruptcy court, which then modified the automatic stay under section 362(a) of the

Bankruptcy Code to permit the arbitration to proceed only as to “claims currently pending in the



15
    As discussed below (see infra, Part II.D.2), the arbitrator also exceeded his authority under the
LLCA by awarding costs and fees incurred in the bankruptcy case and bondholder litigation—
entirely different proceedings unrelated to the LLCA.


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Arbitration” as of April 17, 2023. Nesser Decl., Ex. Q at 3-4 (emphasis added). The arbitrator

thus lacked authority to adjudicate Petitioners’ claims that Levona (allegedly through Pach

Shemen) had commenced Eletson Holdings’ involuntary bankruptcy proceeding in bad faith (a

claim first asserted on April 25), or that the preferred interests had been assigned to the Alleged

Nominees (a claim first asserted on May 5). See supra, at 8. Because those claims had not been

“pending in the Arbitration” as of April 17, 2023, the arbitrator’s decision to adjudicate them

violated the Bankruptcy Court’s order and the automatic stay under section 362(a).

             Adjudication of Petitioners’ newly-asserted claim also improperly usurped the bankruptcy

court’s exclusive authority to decide whether claims belonging to a debtor are property of the

bankruptcy estate. See, e.g., In re Point Blank Sols., Inc., 449 B.R. 446, 449 (Bankr. D. Del. 2011)

(“It is well established that proceedings to determine what constitutes property of the bankruptcy

estate under section 541(a) of the Bankruptcy Code are core proceedings.”); In re Affirmative Ins.

Holdings, Inc., 565 B.R. 566, 584 (Bankr. D. Del. 2017) (“[T]he determination of whether the

funds … are indeed property of bankruptcy estate is a core proceeding.”). Indeed, Petitioners’

newly-asserted claim was particularly offensive to the bankruptcy court’s order—and the

automatic stay under section 362(a)—because it rests on the premise (detrimental to debtor Eletson

Holdings and its creditors) that the preferred shares underlying Petitioners’ claims are not property

of the bankruptcy estate.

             Because “any proceedings or actions [against the debtor] described in section 362(a)(1) are

void and without vitality if they occur after the automatic stay takes effect,” the arbitrator’s

determination that Levona’s interests in Eletson Gas passed to the Alleged Nominees is void.

Rexnord Holdings, Inc. v. Bidermann, 21 F.3d 522, 527 (2d Cir. 1994) (citations omitted). The

Awards should be vacated on this basis. See, e.g., Marquis Yachts v. Allied Marine Grp., Inc. (N.),




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2010 WL 1380137, *5 (D. Minn. Mar. 31, 2010) (“Allied’s claim [for declaratory relief] against

[the debtor] is an action ‘against the debtor’ and therefore was subject to the automatic stay [under

section 362]. … To the extent that the arbitration panel ruled on Allied’s claim for declaratory

relief, the panel violated the automatic stay and exceeded its powers.” (citing 9 U.S.C. § 10(a)(4))).

             D.     The Arbitrator Improperly Awarded Fees Incurred In The Bankruptcy Case
                    And Bondholder Litigation

                    1.     The Award Of Fees Incurred In The Bankruptcy Case Intruded Upon
                           The Bankruptcy Court’s Exclusive Jurisdiction

             The arbitrator intruded on the bankruptcy court’s exclusive jurisdiction in no fewer than

three ways when he awarded fees incurred in the bankruptcy case. First, the arbitrator lacked

authority to award fees in connection with the bankruptcy because that claim was not pending

when the bankruptcy court modified the automatic stay; Petitioners made that request only later.

See Nesser Decl., Ex. R.

             Second, the award of fees for the bankruptcy case is improper because damages based on

an involuntary bankruptcy petition are exclusively a matter of federal bankruptcy law, specifically

11 U.S.C. § 303(i), and remedies outside the Bankruptcy Code are preempted. See, e.g., In re

Miles, 430 F.3d 1083, 1091-92 (9th Cir. 2005) (“§ 303(i) of the Bankruptcy Code ‘provide[s] the

exclusive cause of action for the claim[s] asserted and also set[s] forth procedures and remedies

governing that cause of action.’ … Therefore, we hold that 11 U.S.C. § 303(i) completely preempts

state law tort actions for damages predicated upon the filing of an involuntary bankruptcy petition.”

(quoting Beneficial Nat. Bank v. Anderson, 539 U.S. 1, 8 (2003)); Gonzales, 830 F.2d at 1035

(“Filings of bankruptcy petitions are a matter of exclusive federal jurisdiction. State courts are not

authorized to determine whether a person’s claim for relief under a federal law, in a federal court,

and within that court’s exclusive jurisdiction, is an appropriate one.”); In re Chateaugay Corp.,

213 B.R. 633, 637 (S.D.N.Y. 1997) (citing Gonzales for proposition that “state courts lack


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jurisdiction to adjudicate claim[s] that filing [a] bankruptcy petition constituted abuse of process”).

The arbitrator thus improperly usurped the bankruptcy court’s power over the involuntary

bankruptcy proceeding by awarding Petitioners’ fees and costs associated with it. The Awards

should be vacated on this basis too. It is irrelevant that the arbitrator purported to award such fees

based on a supposed violation of the Status Quo Injunction (by a non-party to the arbitration).

Final Award at 68. That is because the arbitrator’s authority did not extend to matters strictly

reserved for the bankruptcy court.

             Third, the award of fees for the bankruptcy case is additionally improper because, rather

than simply awarding those fees to the bankrupt debtor (Eletson Holdings), it directed the debtor

to repay any non-party “entity or individuals who paid those costs and fees” on Petitioners’ behalf.

Final Award at 66. No non-party, however, could have validly advanced costs and fees on the

debtor’s behalf without bankruptcy court approval, because such advances and the repayment

thereof are within the bankruptcy court’s exclusive jurisdiction. See 11 U.S.C. § 364(b) & (c)

(bankruptcy court must authorize non-ordinary course borrowings “after notice and a hearing”)

(emphasis added); 28 U.S.C. § 1334(e) (“The district court in which a case under title 11 is

commenced or is pending shall have exclusive jurisdiction … of property of the estate”); cf. In re

Braniff Int’l Airlines, Inc., 164 B.R. 820, 828 (Bankr. E.D.N.Y. 1994), aff’d, 101 F.3d 686 (2d Cir.

1996) (bankruptcy judge “‘should not retroactively validate the loan unless he is confident that he

would have authorized it if a timely application had been made” and “in addition, he is reasonably

persuaded that the creditors have not been harmed by a continuation of the business made possible

by the loan’” (quoting In re Am. Cooler Co., 125 F.2d 496, 497 (2d Cir. 1942))). Moreover, the

bankruptcy court—not an arbitrator—oversees the payment of creditors in accordance with the

Bankruptcy Code. See 11 U.S.C. § 726. The Awards should be vacated for this reason as well.




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                    2.     The Award Of Fees Incurred In The Bankruptcy Case And Bondholder
                           Litigation Exceeded The Scope Of The Arbitration Agreement

             The arbitrator also exceeded his powers under the LLCA’s arbitration agreement by

awarding Petitioners the fees and costs incurred in Eletson Holdings’ bankruptcy case and in the

bondholder litigation. Those portions of the award are three degrees removed from any relation

to the LLCA: they concern fees and costs allegedly incurred in actions other than the arbitration

(the bankruptcy case and bondholder litigation), because non-party and non-signatory Pach

Shemen (not Levona) purportedly violated the Status Quo Injunction (not the LLCA). Indeed, the

only reference to the LLCA in the relevant portion of the Awards is to Section 12.14(d), which

empowers the arbitrator “to award reasonable attorneys’ fees and reasonable travel expenses

(excluding meals) to the prevailing party.” Final Award at 68 (quoting LLCA § 12.14(d)). But

that “prevailing party” provision is plainly limited to fees and expenses incurred in connection

with the arbitration. The LLCA did not contemplate or permit an award of fees and costs for other

proceedings. The arbitrator therefore lacked authority to award fees and costs that related to the

bankruptcy case and bondholder litigation and not the LLCA.

             The arbitrator’s conclusion that the Status Quo Injunction, rather than the LLCA, barred

Pach Shemen from initiating a bankruptcy proceeding (and that damages for the filing of that

action should be awarded to Petitioners) is an improper injunction against a federal-court action.

See Final Award at 91. Federal courts, much less arbitrators, may enjoin other federal court actions

only to avoid duplicative litigation. For example, “a district court ‘may enjoin the suitor in [a]

more recently commenced case from taking any further action in the prosecution of that case’ if

the claims presented in the second action should have been interposed as compulsory

counterclaims to the claims in the suit pending before it.” Computer Assocs. Int’l, Inc. v. Altai,

Inc., 893 F.2d 26, 28-29 (2d Cir. 1990) (quoting Nat’l Equip. Rental, Ltd. v. Fowler, 287 F.2d 43,



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45 (2d Cir. 1961)). Likewise, a federal court may enjoin a later-instituted proceeding in another

federal court “if the controversy in each court involves the same issues and the same parties.”

Cresta Blanca Wine Co. v. Eastern Wine Corp., 143 F.2d 1012, 1014 (2d Cir. 1944).

             Here, Pach Shemen’s bankruptcy action was not duplicative of the arbitration. Those

actions do not involve the same parties—the arbitration involves Levona, Eletson Holdings, and

Eletson Corp., while the bankruptcy proceeding involves Pach Shemen and Eletson Holdings

(among others). And they do not involve the same claims in any respect—one is about Levona’s

alleged misconduct and failure to abide by the BOL, and the other is about Eletson Holdings’

insolvency. Thus the arbitrator (even if vested with the full authority of a federal court) had no

authority to enjoin Pach Shemen from prosecuting its bankruptcy claims and thus lacked authority

to enter a sanctions award for exercising rights under federal law.

             In all events, it is for the bankruptcy court alone to grant any remedies in connection with

the filing of an involuntary bankruptcy petition. See, e.g., In re Miles, 430 F.3d at 1091-92; see

also supra, at 27-28. Indeed, recent developments in the bankruptcy proceeding demonstrate the

importance of the bankruptcy court having exclusive jurisdiction over fees associated with its

proceedings. Just a week after the arbitrator issued the Corrected Interim Award, Eletson Holdings

reversed course entirely, withdrew its motion to dismiss the involuntary bankruptcy proceeding

that was based on alleged bad faith, and instead became a voluntary debtor. See supra, at 8.

             After Levona filed its initial vacatur brief, the arbitrator tried to justify this portion of the

award in the Final Award by pointing for the first time to JAMS Rule 29, which provides that the

“Arbitrator may order appropriate sanctions for failure of a Party to comply … with an order of

the Arbitrator.” Final Award at 92. Based on that grant of authority, the arbitrator stated that the

award of attorneys’ fees for the bankruptcy case and bondholder litigation “was as damages to




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compensate for the intentional violations by Levona, through its alter ego, Pach Shemen, of the

Status Quo Injunction Order—not a finding of a prevailing party’s entitlement to fees or a finding

under a fee-shifting provision.” Id.

             The arbitrator’s after-the-fact effort to rescue this improper award lacks any basis in law or

fact. In law, JAMS Rule 1(e) defines “Party” as used in the JAMS Rules as “Parties to the

Arbitration and their counsel or representatives.” Here, Pach Shemen was not a “Party” under

Rule 29 and thus its conduct could not form the basis for sanctions under JAMS Rule 29. But even

if JAMS Rule 29 were available here, the arbitrator failed to explain how any bankruptcy-related

violation of the Status Quo Injunction caused any harm to Eletson Holdings that could be

“compensat[ed]” by “damages”: Pach Shemen was one of several petitioning creditors that

initiated the involuntary bankruptcy proceeding, such that Eletson Holdings would have incurred

fees in the bankruptcy regardless of Pach Shemen’s involvement.

             E.     The Arbitrator Improperly Awarded Fees And Costs To Non-Prevailing
                    Parties

             As mentioned, Section 12.14(d) of the LLCA empowers the arbitrator “to award reasonable

attorneys’ fees and reasonable travel expenses (excluding meals) to the prevailing party.” Under

Delaware law, “the defendant is the prevailing party” if a plaintiff receives “zero dollars in

damages.” Cooke v. Murphy, 99 A.3d 226, 2014 WL 3764177, at *3 (Del. 2014).

             That rule applies directly to this case. The arbitrator awarded “zero dollars in damages” to

Claimants Eletson Holdings and Eletson Corp. Id. He awarded damages only to Eletson Gas and

the Alleged Nominees. Thus, Eletson Holdings and Eletson Corp. were not “prevailing part[ies]”

to whom the arbitrator could award attorneys’ fees under Section 12.14(d) of the LLCA. The

arbitrator, though, failed to heed that limit on his power and improperly awarded Petitioners nearly

$13 million in fees in a case in which they did not prevail.



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III.         THE PETITION SHOULD BE DENIED AND THE AWARDS VACATED
             BECAUSE THE ARBITRATOR MANIFESTLY DISREGARDED THE LAW AND
             THE BOL

             In addition to exceeding his authority under the LLCA’s arbitration agreement, the

arbitrator grossly misinterpreted the BOL—and manifestly disregarded the law—resulting in an

indefensible $87 million award. The Second Circuit has recognized that “awards may be vacated

or modified in the limited circumstances where the arbitrator’s award is in manifest disregard of

the terms of the [parties’] agreement.” Yusuf Ahmed Alghanim & Sons v. Toys “R” Us, Inc., 126

F.3d 15, 23 (2d Cir. 1997). For example, in In re Marine Pollution Servs., Inc., 857 F.2d 91 (2d

Cir. 1988), the Second Circuit ordered vacatur of an arbitration award where the arbitrator had

failed to interpret the contract at issue and instead merely made “noises” of contract interpretation

and “based the award on some body of thought, or feeling, or policy, or law that is outside the

contract.” Id. at 94 (quoting Ethyl Corp. v. United Steelworkers, 768 F.2d 180, 184-85 (7th Cir.

1985)); see Aspic Eng’g & Constr. Co. v. ECC Centcom Constructors LLC, 913 F.3d 1162, 1169

(9th Cir. 2019) (“When an arbitrator disregards the plain text of a contract without legal

justification simply to reach a result that he believes is just, we must intervene.”).

             Likewise, “[a]n arbitral award may be vacated for manifest disregard of the law.” Jefferies

LLC v. Gegenheimer, 849 F. App’x 16, 17 (2d Cir. 2021) (quoting Wallace v. Buttar, 378 F.3d

182, 189 (2d Cir. 2004)). A party seeking to vacate an arbitration award on manifest disregard

grounds must show “egregious impropriety on the part of the arbitrator” and that there is not even

a “barely colorable justification for the outcome reached.” T.Co Metals, LLC v. Dempsey Pipe &

Supply, Inc., 592 F.3d 329, 339 (2d Cir. 2010) (quoting Stolt-Nielsen SA v. AnimalFeeds Int’l

Corp., 548 F.3d 85, 91-92 (2d Cir. 2008), rev’d on other grounds, 559 U.S. 662 (2010); see, e.g.,

Westerbeke, 304 F.3d at 218 (“A court may find intentional disregard if the reasoning supporting

the arbitrator’s judgment strains credulity or does not rise to the standard of barely colorable.”


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(cleaned up)). This requires showing that the arbitrator “knew of a governing legal principle” that

was “well-defined, explicit, and clearly applicable to the case” yet “refused to apply [the principle]

or ignored it altogether.” Porzig v. Dresdner, Kleinwort, Benson, N. Am. LLC, 497 F.3d 133, 139

(2d Cir. 2007) (quoting Wallace, 378 F.3d at 189).

             The Awards meet this high bar because the arbitrator wholly failed to interpret the BOL—

he made “noises” of contract interpretation at best—and reached a result that so plainly conflicts

with foundational principles of contract interpretation as to warrant vacatur. The BOL gave

Eletson Gas an option to buy out Levona’s stake in it, provided certain strict conditions were met—

including that the Purchase Option had to be exercised “by written notice,” BOL § 2.1. But, as the

arbitrator correctly found, Eletson Gas never sent anything even purporting to be such a written

notice to Levona. See Final Award at 41 (“I agree with Levona that there does not seem to be a

separate formal written notice provided to Levona by Eletson exercising the option.”). The

Purchase Option thus was never exercised under the BOL’s unambiguous terms.

             In ruling otherwise, the arbitrator summarily asserted that the unambiguous “written

notice” requirement could be ignored because “[a]t best, the absence of a written notice … [is a]

formalit[y] that the parties failed to observe.” Final Award at 46. The arbitrator was of course

correct in finding that the written notice requirement was a “formalit[y] that the parties failed to

observe.” But he was entirely incorrect—incomprehensibly so—in concluding that the failure to

comply with a formal contractual requirement can be ignored precisely because the contractual

requirement is formal. That reasoning not only impermissibly disregarded the plain contractual

text but it read the written notice requirement out of the contract entirely, contrary to fundamental

tenets of contract law. See, e.g., 11 Williston on Contracts § 32:3 (4th ed.) (“The plain, common,

or normal meaning of language will be given to the words of a contract.”); id. § 32:5 (“To the




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extent possible, and except to the extent that the parties manifest a contrary intent, … every word,

phrase or term of a contract must be given effect.”).16

             Having manifestly disregarded the contract and applicable law by treating a “formality” as

irrelevant, the arbitrator magnified his error by citing supposed circumstantial evidence that “the

parties acknowledged that Eletson was exercising the option.” Id. at 43. That is untenable. The

entire purpose and effect of a provision requiring formal written notice is to provide clarity and

certainty by precluding post-hoc arguments based on circumstantial evidence of what the parties

supposedly thought and meant. Cf. Stoppi v. Wilmington Tr. Co., 518 A.2d 82, 86 (Del. 1986)

(“[W]ritten notice … is the better rule since” it “gives greater protection to the debtor, eliminates

the problems of proof associated with oral notice, and establishes exactly what notice has been

given in a particular instance.”).

             Finally, the arbitrator also manifestly disregarded the law by failing to make any effort to

interpret the BOL under governing English law, which is particularly strict in mandating adherence

to specified means of notice and specified conditions on the exercise of options. See, e.g., Mannai

Investment Co. Ltd. v. Eagle Star Life Assurance Co. Ltd., Judicial Committee of the House of

Lords, [1997] A.C. 749 at 776 (“If the clause had said that the notice had to be on blue paper, it

would be no good serving a notice on pink paper, however clear it might have been that the tenant



16
     See also Weinberg v. Waystar, Inc., 294 A.3d 1039, 1044 (Del. 2023) (“We will read the
contract as a whole and enforce the plain meaning of clear and unambiguous language. In doing
so, we endeavor to give each provision and term effect and not render any terms ‘meaningless or
illusory.” (internal quotation marks omitted)); Lorillard Tobacco Co. v. Am. Legacy Found., 903
A.2d 728, 739 (Del. 2006) (“When the language of a ... contract is clear and unequivocal, a party
will be bound by its plain meaning ….”) (internal quotation marks omitted)); see also Utica Mut.
Ins. Co. v. Fireman’s Fund Ins. Co., 957 F.3d 337, 344 (2d Cir. 2020) (“[I]n construing the
contract, we are to give full meaning and effect to the material provisions of the contract, and [a]
reading of the contract should not render any portion meaningless.” (applying New York law)
(internal quotation marks omitted).


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wanted to terminate the lease.”); United Scientific Holdings v Burnley B.C., Judicial Committee of

the House of Lords, [1978] AC 904 at 929 (Because “the grant of an option … is an irrevocable

offer,” an option “must be accepted in exact compliance with its terms.”); Friends Life Ltd v.

Siemens Hearing Instruments Ltd, English Court of Appeal, [2014] EWCA Civ 382 at 66 (holding,

after summarizing English law on the exercise of options, that to validly exercise an option, a party

“must pay close attention to all the requirements of the clause, including the formal requirements,

and follow them precisely”) (emphasis added); Rennie v. Westbury Homes (Holdings) Ltd, English

Court of Appeal, [2007] EWCA Civ 1401, at 14-15 (explaining that “[a] typical case of an

‘indispensable condition’”—the failure of which “invalidates the notice”—“is where the contract

states that the relevant notice shall be in writing and shall contain particular information”).

             For all these reasons, the arbitrator’s deviation from the plain contractual language and

fundamental canons of contract interpretation is so far outside the range of permissible decisions

as to warrant vacatur. See, e.g., Stolt-Nielsen, 559 U.S. at 671 (vacatur warranted “when an

arbitrator strays from interpretation and application of the agreement and effectively dispenses his

own brand of industrial justice.” (internal quotation marks omitted)).

                                             CONCLUSION

             The Court should (i) dismiss or deny the Amended and Supplemental Petition to Recognize

and Enforce the Arbitral Award and (ii) vacate the Corrected Interim Award and the Final Award.




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DATED: October 24, 2023           QUINN EMANUEL URQUHART & SULLIVAN, LLP

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